314 F.2d 570
    Application of Russell H. McCULLOUGH.
    Patent Appeal No. 6918.
    United States Court of Customs and Patent Appeals.
    March 14, 1963.
    
      Kenyon &amp; Kenyon, Ralph L. Chappell, New York City, for appellant.
      Clarence W. Moore, Washington, D. C. (Raymond E. Martin, Washington, D. C., of counsel), for Commissioner of Patents.
      Before WORLEY, Chief Judge, and RICH, MARTIN, SMITH and ALMOND, Judges.
      MARTIN, Judge.
    
    
      1
      This appeal is from a decision of the Patent Office Board of Appeals affirming the examiner's rejection of claims 20-23, the only remaining claims of appellant's application Serial No. 452,323 filed August 26, 1954 for MOTION PICTURE PROJECTION APPARATUS.
    
    
      2
      Claims 20 and 21, representative of the appealed claims, read:
    
    
      3
      20. In a theatre installation provided with a projection booth adjacent the rear of the theatre and a panoramic screen adjacent the front of the theatre and having a central portion and curved end portions, apparatus for projecting a composite image onto said screen derived from three separate films each containing one component of the composite image, said apparatus comprising a group of three projectors disposed in said booth, said projectors carrying the respective films and being symmetrically arranged with respect to said screen, the center projector casting an image component directly onto the central portion of said screen, and reflectors disposed cooperatively with respect to the side projectors to cast the image components therefrom along intersecting paths onto the respective end portions of said screen, whereby the optical distance between each of said end portions and the related side projector exceeds that between the central portion of the screen and the center projector, said side projectors having long focus lens systems producing a relatively great depth of focus, thereby avoiding image distortion on said curved side portions of said screen.
    
    
      4
      21. In a theatre installation provided with a projection booth adjacent the rear of the theatre and a panoramic screen adjacent the front of the theatre and having a center portion and curved end portions, apparatus for projecting a composite image on said screen derived from three separate films each containing one component of the composite image comprising a first projector oriented to cast an image in a central path directly onto the center portion of said screen, second and third projectors disposed on either side of said first projector, the projectors all being disposed in said booth, and reflectors disposed in cooperative relation to said second and third projectors with respect to said curved end portions of the screen to cast image components thereon in intersecting paths, whereby the optical distance between each of said end portions and the associated projector exceeds that between said center portion and said first projector, said second and third projectors including long focus optical systems providing a relatively great depth of focus.
    
    
      5
      Claim 22 is specific to the "reflectors disposed adjacent the opposing sides of the theatre cooperatively with respect to said side projectors." Claim 23 is specific to the "reflectors mounted adjacent the opposing sides of the booth cooperatively with respect to said side projectors."
    
    
      6
      The references relied on by the examiner and the board are:
    
    
      7
        Proctor        1,666,304  April 17, 1928
  Waller et al.  2,280,206  April 21, 1942
  Société
    (France)       385,423  March 16, 1908
  Rousseau
    (France)       657,324  Jan.  15, 1929
    
    
      8
      Appellant's application relates to a projector-screen arrangement which employs three motion picture projectors. These projectors simultaneously project an image onto a horizontally-elongated screen which is spaced from the projectors so as to define a spectator area between the projectors and the screen. The screen has a central portion which is substantially at a right angle to the spectator area, and end portions that are usually concave. The three projectors are provided with films taken simultaneously. Thus when the images projected on the screen are placed side by side, a panoramic view results. Appellant's three motion picture projectors are grouped together in a projection booth at the rear of the theatre. The central projector is focused on the center of the screen while the two side projectors are directed at two reflecting mirrors which are placed either at the sides of the projection booth or at the sides of the theatre. The two reflecting mirrors cast the image components from the two side projectors along intersecting paths onto the respective end portions of the screen. Appellant also employs a long focus lens system1 in each of the two side projectors. Appellant in his brief points out that "The long focus lens systems used in connection with the increased optical distance [made possible by the reflectors] provided a relatively great depth of focus2 for the concave ends or wings of the screen. This eliminated distortion since, with the greater depth of focus, everything projected on the concave screen could be kept in focus."
    
    
      9
      The Waller et al. patent discloses a motion picture theatre comprising in combination a projection screen having a substantially spherical surface covering substantially the entire vision of a spectator and four projectors arranged to project images against contiguous areas covering substantially the entire surface of the screen. This arrangement provides three dimensional visual effect.
    
    
      10
      The Proctor patent discloses an apparatus for projecting a relatively long section of ticker tape quotations, panoramic views, sport results etc., on a flat screen. The projecting apparatus consists of a central projector and two side projectors. The projectors are so arranged to produce an effect similar to one large projector. The central projector casts an image directly on the central portion of the screen while each of the side projectors direct an image upon a first mirror angularly disposed so as to further direct the image on a second movable mirror angularly disposed to the first mirror. The images from the side projectors are thereupon directed along intersecting paths so as to be cast on opposite end portions of the screen. This results in a projection of a continuous progression when a single tape is drawn through the three projectors. For example, stock quotations are simultaneously cast on a screen in such a way as to allow for relative comparison in respect to the quotations immediately preceding or following the quotation projected by the central projector.
    
    
      11
      The Rousseau patent describes a motion picture apparatus which projects a picture on a preferably curved screen. The patentee uses a multiple lens system in taking the picture on a single film and in projecting it. The picture is projected simultaneously by a plurality of projector systems, each projector system projecting a different portion of the film. The central portion of the picture can be projected by a central projector system using an appropriate lens with the two side portions of the picture being projected by two side projector systems which employ reflecting prisms, lenses and mirrors. The patentee teaches that the lens in each of the three projector systems have the same focal length. The patentee's motion picture apparatus permits close spacing between the projector systems and the screen.
    
    
      12
      The Société patent discloses a system of a central and two side projectors for projecting a composite image on a curved screen. The three projectors can be so oriented that the center projector projects directly on the center of the screen and the two side projectors, by means of reflectors, project images on the curved end portions of the screen.
    
    
      13
      In rejecting the appealed claims the examiner took the position that the utilization of a reflector system in the Waller et al. theatre arrangement in such a way that the projectors could be located close together and still obtain the same angularly crossed projection beams was obvious in view of the Rousseau or Proctor patents, both of which teach the use of projecting beams outwardly near the projectors and reflecting the beams in angularly crossed relation to opposite sides of the screen. The examiner additionally rejected the appealed claims over Rousseau in view of either Waller et al. or Société. His position is that the arrangement of the projector lenses of Rousseau with the axes of the side lenses pointed outwardly and the reflectors to direct the beams in crossed relationship is the equivalent of the arrangement of projectors recited in the appealed claims except for the use of separate films for separate projectors. The examiner however considered the use of separate film for the several parts of the picture to be projected as obvious in view of Waller et al. or Société both of which show that it is conventional to project a composite image from separate strips of film.
    
    
      14
      The board affirmed the examiner's rejections of claims 20-23 over the prior art, particularly when using Waller et al. as the basic reference in view of Proctor. The board stated:
    
    
      15
      "* * * Proctor would provide an obvious suggestion to one skilled in the art, of modifying Waller et al. by providing reflectors, disposed adjacent the opposing sides of the theatre or of the projection booth, which may be substantially as wide as the screen or theatre, and cooperative with the side projectors, thereby increasing the optical distance between the side panels and related projector."
    
    
      16
      It is evident that the principles of optics involved in appellant's invention are well known to those skilled in this art as stated in appellant's specification:
    
    
      17
      "It is known in the science of optics that the amount by which the distance between the exit pupil of a lens and the plane occupied by the screen can be changed without causing the diameter of the "circle of confusion" to exceed an acceptable value characterizes the depth of focus of the lens. The "circle of confusion" is the term applied to the circular blurred image of a point-object formed by a lens at a position displaced from the focal point of the lens.
    
    
      18
      "Thus, the fact that every point on the curved end portion of the screen does not lie precisely in the focal plane of the lens system is not material where the displaced points fall within the depth of focus of the system. In the event a lens of long focal length is utilized in a projector at an extended distance from the screen, the relatively great depth of focus of the optical system is such that the image on the curved screen surface will appear uniformly in focus without the need for special lens-correction expedients."
    
    
      19
      The question then arises whether appellant has invented a projection-screen arrangement wherein these principles of optics are applied in a useful, novel and unobvious manner. We believe insofar as the record shows appellant has achieved this goal.
    
    
      20
      We find nothing in the references per se or in a combination of them which teaches or suggests the basic concept of appellant's invention which is to use mirrors to lengthen the optical distance for the two side projectors together with the use of long focus lens systems for the purpose of increasing the depth of focus. None of the references per se or in combination teach so using mirrors to lengthen the optical distance so as to permit the use of a long focus lens system which will provide a greater depth of focus. The use of this concept permits an arrangement which is both economical and expedient insofar as the projection booth and the seating arrangements are concerned, while at the same time, allowing satisfactory focusing to be obtained under almost all theatre conditions. It is obvious from the record that some theatres are so constructed that a combination such as disclosed by appellant would be a very economical solution of the problems involved in adjusting a theatre to the innovation of panoramic viewing. Waller et al. show three projectors3 each directed to a different portion of the semi-circular screen but there is no teaching of the use of mirrors to secure long optical distance when that is found necessary to properly adapt the theatre for panoramic viewing. In fact, it appears that the Waller et al. plan might be limited in use to a theatre constructed particularly for that arrangement.
    
    
      21
      Proctor teaches the use of three projectors together with the use of mirrors but does not teach that the mirrors are used for the ultimate purpose of permitting the use of long focus lens systems with increased depth of focus.
    
    Rousseau says that:
    
      22
      "Standard motion picture projectors require for a wide screen a considerable distance between projector and screen since the lens permits projection only at a small angle. A possibility to increase this angle for producing a projection of larger surface in spite of the small distance from the projector may frequently be advantageous; this applies particularly to playhouses when a background of animated scenery is to be produced by motion picture projection; the scene is actually wide, and the distance between the backdrop and a projector, necessarily placed behind the curtain, so as to be hidden from the spectator, is much smaller than that which in customary movie theaters separates the projector from the screen."
    
    
      23
      Appellant's concept and arrangement implementing it is nowhere found or suggested in this patent. We place the Société reference in this same category.
    
    
      24
      The solicitor calls our attention to three statements of the examiner which he says demonstrates the correctness of the examiner's rejections and the board's decision. We will examine these statements. First the solicitor states:
    
    
      25
      "the examiner has correctly stated that `the claims make no reference to the relative focal length between center projector and side projectors.' This is indicated by the claim language itself, as well as by appellant's failure to challenge that statement. Hence, a prior art teaching of three projectors, each projector having a lens of identical `long focal length' would satisfy the `long focus' limitation of the claims."
    
    
      26
      This observation does not contravene the fact that appellant has taught the art to use mirrors in order to permit use of long focus lens system. It should be remembered that appellant's invention involves a combination of elements and we find the patentability resides in this combination, not in any one element of the invention.
    
    Second, the solicitor states:
    
      27
      "The examiner considered the matter of focal length of the projector lenses to be a matter of choice * * * and stated that `any skilled worker in the art would select a lens of sufficient focal length to give proper focus on the screen' * * *."
    
    
      28
      We are sure this is true but then comes the question which appellant has answered with this combination — if one wants to use a lens of "long focal length," how is this accomplished where space is a problem?
    
    The third statement reads:
    
      29
      "The examiner further noted that `it is customary in theater projection to use comparatively long focal length lenses on the projector, so the use of long focal length lenses by applicant is considered only a conventional and customary expedient in theater projection' * * *."
    
    
      30
      Again we find no fault with the examiner's statement but it does not meet the issue which has been presented to us, i. e. is the teaching of an arrangement which includes the use of "comparatively long focal length lenses" under certain restricted circumstances patentable?
    
    
      31
      We must admit that claim 23, which places each reflector in the projection booth in close proximity to its related outside projector as in a modified form of the invention shown on one of the application drawings, rather minimizes the significance of appellant's concept of the necessity of securing longer optical distance by the use of mirrors. We assume appellant achieved the desired depth of focus in the embodiment recited in claim 23 and yet he does it without extending the optical distance by any appreciable amount beyond that which would have occurred by directing the rays of the outside projectors directly to the screen without the use of mirrors. Nevertheless, appellant has taught the art the use of mirrors when needed in combination with the other elements. We therefore reverse the decision of the board.
    
    
      32
      Reversed.
    
    
      
        Notes:
      
      
        1
         As we understand from the application, a long focus lens system is one that employs a lens of long focal length. Focal length is defined in Funk &amp; Wagnall's New Standard Dictionary (1931) as "the distance from the optical center of a lens or mirror to the point where the rays converge."
      
      
        2
         Appellant in his application has defined "depth of focus" of the lens as the amount by which the distance between the exit pupil of a lens and the plane occupied by the screen can be changed without causing the diameter of the circle of confusion to exceed an acceptable value, "circle of confusion" being the term applied to the circular blurred image of a point-object formed by a lens at a position displaced from the focal point of the lens
      
      
        3
         The fourth projector shown for vertical view is not significant to this discussion
      
    
    
      33
      RICH, Judge (concurring).
    
    
      34
      I am afflicted with a gnawing distrust of the application of the optical theories in this case by appellant and by the majority. I concur in the result because I believe an adequate practical disclosure has been made of an operative projection system having the advantages claimed for it.
    
    
      35
      It is not customary in patent cases to require an applicant either to know and disclose the underlying theory of his invention or to hold him to an expressed erroneous theory. Eames v. Andrews, 122 U.S. 40, 7 S.Ct. 1073, 30 L.Ed. 1064; Robinson on Patents, § 485; In re Modine, 57 F.2d 355, 19 CCPA 1058. In principle the same would generally be true of an erroneous application of theory, I think.
    
    
      36
      This case involves a sort of chicken-and-egg situation. The acknowledged prior art set-up utilizing a wide screen with curved ends entailed, appellant says in his specification, putting the side projectors at the sides of the theater so they could shoot axially at the curved screen end sections. This put them closer to the screen than the center projector in the booth and if the end section pictures were to be the same size as the center section picture the focal length of the side projection lenses would obviously have to be shorter than that of the center projector lens.1 The shorter throw of the side projectors gave their projected images a shorter depth of focus (relative to that of the center projector). But due to the screen curvature, a greater depth of focus was desirable. (Whether necessary would depend on theater size and screen curvature.) This could be achieved only by moving the projectors further from the screen and, of necessity, using longer focal length lenses, so as to retain the same picture size while doing so.
    
    
      37
      Appellant increased the distance by projecting along a dog-leg, using a mirror at the bend. While some references show the use of mirrors and dog-leg projection, the purposes were different. The main reason why appellant did this seems to have been to get all of the projectors in the projection booth at the back of the theater and simultaneously to eliminate projectors at the side so as not to cut down the size of the audience, without losing axial projection to the ends of the screen. The application says:
    
    
      38
      "Attainment of this object automatically permits the use of long-focus lenses providing a relatively deep field of focus at the screen, whereby to provide sharpness on the concave screen portions." [My emphasis.]
    
    
      39
      As to using "long focus" lenses, all claims state that the side projectors use long focus lens systems. This does not impress me as anything remarkable. In picture projection the focal length of the lens used is determined by two factors: (1) the size of the picture desired on the screen and (2) the distance of the projector from the screen. Appellant's specification states, with respect to the center projector, which shoots straight at the center of the screen in a conventional manner, "The longest possible focus projection lens may be used by this projector." A little thought will show the statement to be meaningless. Once the picture size is determined, the focal length of this lens will be fixed by the size of the theater and the distance from its screen to the projection booth, so there is only one possible focal length. Whatever it is, if the side projectors are shooting along dog-legs of greater total length than the throw of the center projector, the focal lengths of their lenses will necessarily be longer than that of the center projector. As the application says, "so the focal length of the projection lens for the [side] projector 6 is even greater than in the case of the [center] projector 7."
    
    
      40
      "Long," with respect to the focal length of lenses, is, in any event, a relative term. The specification gives us no focal length of any lens. About all we know in this case is that the applicant says his center projector will have the "longest possible" focal length and that the focal length of the side projector lenses will be longer. And all of the focal lengths will be determined by theater size.
    
    
      41
      The novelty here, it seems to me, is the dog-leg-with-mirror projection from the booth into curved screen ends, preferably axially thereof, for the purpose of getting clear end pictures, or at least clearer pictures than when the side projectors shoot straight from the theater side walls axially of the curved screen ends.
    
    
      42
      Claim 23 defines an arrangement where there is not likely to be much of an advantage, a sort of de minimis application of the appellant's scheme. How much longer the throw of the side projectors will be through the use of the mirrors will depend entirely on how big the projection booth is. (The booth is in the claim and the mirrors are in the booth.) As shown in the drawing, the optical distance for the side projectors is about 7% greater than that for the center projector, as compared with an increase of about 50% in the other embodiment where the mirrors are on the theater walls. Slight though the advantage may be, I do not see any reason to deny appellant this claim.
    
    
      43
      I agree to the reversal of the rejection.
    
    
      
        Notes:
      
      
        1
         At a given distance from a screen, the shorter the focal length of the lens the larger the picture will be. Also, with a lens of given focal length, the closer to the screen the projector is the smaller the picture will be. A picture gets larger as the projector is moved away from the screen and if the picture is to be kept the same size the lens must be of longer focal length as the projector is moved away and shorter focal length as the projector is moved closer. These are some of the simple optical facts involved in this case
      
    
    
      44
      WORLEY, Chief Judge (dissenting).
    
    
      45
      I am unable to see where appellant has done anything to earn a patent.
    
    
      46
      In effect, the majority concludes that the principles of optics relied on by appellant are not expressly taught by the references. It seems to me, however, that those principles, so clearly illustrated in the concurring opinion, would necessarily be basic knowledge to one of ordinary skill in this particular art.
    
    
      47
      It seems to me that the problem cannot be approached on the theory that those skilled in the art would know only what they read in the references; they are presumed to know at least the elementary principles of optics as they relate to motion picture projection. I would affirm.
    
    